                               Case 18-10601-MFW                          Doc 1          Filed 03/19/18            Page 1 of 31
Fill in this information to identify the case:

United States Bankruptcy Court for the:
____________________ District of Delaware
                                      (State)

Case number (If known): _________________________ Chapter 11                                                                             Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                              The Weinstein Company Holdings LLC


2.   All other names debtor used
     in the last 8 years
     Include any assumed names, trade
     names, and doing business as names




3.   Debtor’s federal Employer
                                                XX-XXXXXXX
     Identification Number (EIN)


4.   Debtor’s address                           Principal place of business                                 Mailing address, if different from principal place
                                                                                                            of business


                                                99 Hudson Street
                                                Number       Street                                         Number     Street


                                                 th
                                                4 Floor
                                                                                                            P.O. Box


                                                New York, New York 10013
                                                City                             State        Zip Code      City                          State          Zip Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business

                                                New York County
                                                County
                                                                                                            Number     Street




                                                                                                            City                          State          Zip Code




5.   Debtor’s website (URL)                     www.WeinsteinCo.com


6.   Type of debtor                                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                       Partnership (excluding LLP)
                                                       Other. Specify:




                                                                                                                                                            page 1

RLF1 18952438v.6
Debtor                         Case 18-10601-MFW
                The Weinstein Company Holdings LLC                          Doc 1       Filed 03/19/18           Page
                                                                                               Case number (if known) 2 of 31
                Name




7.    Describe debtor’s business                 A. Check one:
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     None of the above


                                                 B. Check all that apply:
                                                     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                            5121


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the
      debtor filing?                                 Chapter 7
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
                                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                        affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every
                                                                        3 years after that).
                                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                        is a small business debtor, attach the most recent balance sheet, statement of
                                                                        operations, cash-flow statement, and federal income tax return or if all of these
                                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                        in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                        12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases                    No
      filed by or against the debtor                 Yes.    District                         When                        Case number
      within the last 8 years?                                                                        MM / DD / YYYY
      If more than 2 cases, attach a separate                District                         When                        Case number
      list.
                                                                                                      MM / DD / YYYY


10.   Are any bankruptcy cases                       No
      pending or being filed by a                    Yes.    Debtor See Rider 1                                        Relationship
      business partner or an
      affiliate of the debtor?                               District                                                  When
                                                                                                                                      MM / DD / YYYY
      List all cases. If more than 1, attach a
      separate list.                                         Case number, if known




                                                                                                                                                          page 2

RLF1 18952438v.6
Debtor                      Case 18-10601-MFW
             The Weinstein Company Holdings LLC                 Doc 1        Filed 03/19/18          Page 3 of 31
                                                                                    Case number (if known)
             Name




11.   Why is the case filed in this   Check all that apply:
      district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No See Rider 2
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal
      property that needs                         Why does the property need immediate attention? (Check all that apply.)
      immediate attention?                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).
                                                     Other


                                                  Where is the property?
                                                                             Number         Street




                                                                             City                                   State              ZIP Code


                                                  Is the property insured?
                                                     No
                                                     Yes. Insurance agency

                                                             Contact name

                                                             Phone


          Statistical and administrative information


13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


14.   Estimated number of                 1-49                                      1,000-5,000                           25,001-50,000
      creditors                           50-99                                     5,001-10,000                          50,001-100,000
                                          100-199                                   10,001-25,000                         More than 100,000
                                          200-999


15.   Estimated assets                    $0-$50,000                                $1,000,001-$10 million                $500,000,001-$1 billion
                                          $50,001-$100,000                          $10,000,001-$50 million               $1,000,000,001-$10 billion
                                          $100,001-$500,000                         $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million             More than $50 billion




                                                                                                                                                    page 3

RLF1 18952438v.6
 Debtor                      Case 18-10601-MFW
              The Weinstein Company Holdings LLC                       Doc 1        Filed 03/19/18          Page 4 of 31
                                                                                           Case number (if known)
              Name


16.   Estimated liabilities                     $0-$50,000                               $1,000,001-$10 million             $500,000,001-$1 billion
                                                $50,001-$100,000                         $10,000,001-$50 million            $1,000,000,001-$10 billion
                                                $100,001-$500,000                        $50,000,001-$100 million           $10,000,000,001-$50 billion
                                                $500,001-$1 million                      $100,000,001-$500 million          More than $50 billion



                  Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of       ■      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of              petition.
      debtor
                                         ■      I have been authorized to file this petition on behalf of the debtor.

                                         ■      I have examined the information in this petition and have a reasonable belief that the information is true
                                                and correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on    03/19/2018
                                                            MM / DD / YYYY


                                          /s/ Robert Del Genio                                       Robert Del Genio
                                                                                                      Printed name
                                                Signature of authorized representative of debtor

                                                Title Chief Restructuring Officer




18.   Signature of attorney               /s/ Mark D. Collins                                        Date    03/19/2018
                                                Signature of attorney for debtor                              MM / DD / YYYY




                                          Mark D. Collins
                                         Printed name

                                           Richards, Layton & Finger, P.A.
                                         Firm name

                                           920 North King Street
                                         Number       Street

                                           Wilmington                                                                      DE               19801
                                         City                                                                           State             ZIP Code


                                          (302) 651-7700                                                                 collins@rlf.com
                                         Contact phone                                                                  Email address



                                          2981                                                                          DE
                                         Bar number                                                                     State




                                                                                                                                                      page 4

 RLF1 18952438v.6
                   Case 18-10601-MFW        Doc 1     Filed 03/19/18       Page 5 of 31



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
The Weinstein Company Holdings LLC,                            : Case No. 18-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                                                Rider 1

            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
voluntary petition in the United States Bankruptcy Court for the District of Delaware for relief
under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of their cases with the lead case number assigned to the chapter 11 case of The
Weinstein Company Holdings LLC.

                  Avenging Eagle SPV, LLC
                  Branded Partners LLC
                  Check Hook LLC
                  CTHD 2 LLC
                  Cues TWC (ASCAP), LLC
                  Current War SPV, LLC
                  DRT Films, LLC
                  DRT Rights Management LLC
                  FFPAD, LLC
                  HRK Films, LLC
                  InDirections LLC
                  InteliPartners LLC
                  ISED, LLC
                  MarcoTwo, LLC
                  One Chance LLC
                  PA Entity 2017, LLC
                  Paddington 2, LLC
                  PS Post LLC
                  Scream 2 TC Borrower, LLC
                  Small Screen Productions LLC
                  Small Screen Trades LLC
                  Spy Kids TV Borrower, LLC
                  Team Players LLC



RLF1 18952438v.6
                   Case 18-10601-MFW     Doc 1   Filed 03/19/18    Page 6 of 31



                  The Actors Group LLC
                  The Giver SPV, LLC
                  The Weinstein Company Holdings LLC
                  The Weinstein Company LLC
                  Tulip Fever LLC
                  TWC Borrower 2016, LLC
                  TWC Domestic LLC
                  TWC Fearless Borrower, LLC
                  TWC Library Songs (BMI), LLC
                  TWC Loop LLC
                  TWC Mist, LLC
                  TWC Polaroid SPV, LLC
                  TWC Production-Acquisition Borrower 2016, LLC
                  TWC Production, LLC
                  TWC Replenish Borrower, LLC
                  TWC Short Films, LLC
                  TWC Untouchable SPV, LLC
                  TWC Waco SPV, LLC
                  Twenty O Five Holdings, LLC
                  W Acquisition Company LLC
                  WC Film Completions, LLC
                  Weinstein Books, LLC
                  Weinstein Development LLC
                  Weinstein Global Funding Corp.
                  Weinstein Global Film Corp.
                  Weinstein Productions LLC
                  Weinstein Television LLC
                  WTV Guantanamo SPV, LLC
                  WTV JCP Borrower 2017, LLC
                  WTV Kalief Browder Borrower, LLC
                  WTV Scream 3 SPV, LLC
                  WTV Yellowstone SPV, LLC




                                                                                  page 2

RLF1 18952438v.6
                   Case 18-10601-MFW        Doc 1     Filed 03/19/18       Page 7 of 31



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
The Weinstein Company Holdings LLC,                            : Case No. 18-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                                                Rider 2

             Real Property or Personal Property that Needs Immediate Attention
       Question 12, among other things, asks the debtor to identify any property that poses or is
alleged to pose a threat of imminent and identifiable hazard to public health or safety.
        The above-captioned debtor (the “Debtor”) does not believe it owns or possesses any
real or personal property that (i) poses a threat of imminent and identifiable hazard to public
health or safety, (ii) needs to be physically secured or protected from the weather, or (iii)
includes perishable goods or assets that could quickly deteriorate. The Debtor notes that it is not
aware of the exact definition of “imminent and identifiable hazard” as used in this form.




RLF1 18952438v.6
                   Case 18-10601-MFW      Doc 1     Filed 03/19/18     Page 8 of 31



                                UNANIMOUS WRITTEN
                     CONSENT OF THE BOARD OF REPRESENTATIVES
                      OF THE WEINSTEIN COMPANY HOLDINGS LLC

                                         March 19, 2018

       The undersigned, being all of the members of the Board of Representatives (the “Board”)
of The Weinstein Company Holdings LLC, a Delaware limited liability company (the
“Company”), hereby consent in writing, pursuant to the provisions of applicable law, based on
the advice of the Company’s professionals and advisors, and after thorough discussions, to the
following actions and hereby adopt the following resolutions:

                WHEREAS, in the judgment of the Board, it is desirable and in the best
        interests of the Company, its creditors, and other interested parties that a petition
        be filed by the Company and by each of its direct and indirect wholly-owned
        subsidiaries listed on Schedule A hereto (the “Subsidiaries”) seeking relief under
        the provisions of chapter 11 of title 11 of the United States Code (the
        “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
        Delaware (the “Chapter 11 Case”);

                WHEREAS, in the judgment of the Board, it is desirable and in the best
        interests of the Company, its creditors, and other interested parties to, in
        connection with the Chapter 11 Case, engage the law firm of Cravath, Swaine &
        Moore LLP (“Cravath”), as bankruptcy co-counsel for the Company, and the law
        firm of Richards, Layton & Finger, P.A. (“RL&F”), as bankruptcy co-counsel for
        the Company, each under a general retainer in the Chapter 11 Case, subject to any
        requisite bankruptcy court approval;

                WHEREAS, in the judgment of the Board, it is desirable and in the best
        interests of the Company, its creditors, and other interested parties to, in
        connection with the Chapter 11 Case, engage the firm of FTI Consulting, Inc.
        (“FTI”), to provide the Company with restructuring and interim management
        services, subject to any requisite bankruptcy court approval;

                WHEREAS, in the judgment of the Board, it is desirable and in the best
        interests of the Company, its creditors, and other interested parties to, in
        connection with the Chapter 11 Case, engage the firm of Moelis & Company LLC
        (“Moelis”), as investment banker for the Company in the Chapter 11 Case,
        subject to any requisite bankruptcy court approval; and

                WHEREAS, in the judgment of the Board, it is desirable and in the best
        interests of the Company, its creditors, and other interested parties to, in
        connection with the Chapter 11 Case, engage the firm of Epiq Bankruptcy
        Solutions, LLC (“Epiq”), as claims agent and administrative advisor for the
        Company in the Chapter 11 Case, subject to any requisite bankruptcy court
        approval.



RLF1 18952438v.6
                   Case 18-10601-MFW      Doc 1       Filed 03/19/18   Page 9 of 31




               NOW THEREFORE BE IT RESOLVED, that the Company and each of
        the Subsidiaries shall be, and hereby is, authorized and directed to: (a) each file a
        voluntary petition (collectively, the “Petition”) for relief under chapter 11 of the
        Bankruptcy Code in the United States Bankruptcy Court for the District of
        Delaware (the “Bankruptcy Court”) and (b) perform any and all such acts as are
        reasonable, advisable, expedient, convenient, proper or necessary to effect the
        foregoing; and it be further

                RESOLVED, that Robert Del Genio and Luke Schaeffer be, and hereby
        are, appointed as officers of the Company with the titles of Chief Restructuring
        Officer (the “CRO”) and Chief Strategy Officer (the “CSO”), respectively, and
        both the CRO and CSO and each of the other officers of the Company or
        members of the Board of the Company (each individually, an “Authorized
        Person” and collectively, the “Authorized Persons”) shall be, and each of them,
        acting alone, hereby is, authorized and empowered on behalf of and in the name
        of the Company and each of the subsidiaries to: (a) verify and execute the
        Petition, as well as all other ancillary documents, and file, or cause to be filed
        with the Bankruptcy Court, the Petition and make or cause to be made, prior to
        execution thereof, any modifications to the Petition or ancillary documents as any
        such Authorized Person, in such officer’s discretion, deems necessary or desirable
        to carry out the intent and accomplish the purposes of these resolutions (the
        approval of which to be conclusively established by the execution thereof by such
        Authorized Person); (b) verify, execute and file or cause to be filed all petitions,
        schedules, lists, motions, applications and other papers or documents (including
        authorization to incur debtor-in-possession indebtedness and to enter into debtor-
        in-possession loan agreements and related documents) necessary or desirable in
        connection with the foregoing; and (c) verify and execute or cause to be executed
        any and all other documents necessary or appropriate in connection therewith in
        such form or forms as any such Authorized Person may approve; and it be further

                RESOLVED, that the Authorized Persons of the Company shall be, and
        each of them, acting alone, hereby is, authorized and empowered to retain, on
        behalf of the Company: (a) Cravath, as bankruptcy co-counsel for the Company;
        (b) RL&F, as bankruptcy co-counsel for the Company; (c) FTI, to provide the
        Company with restructuring and interim management services; (c) Moelis, as
        investment banker for the Company; (d) Epiq, as claims agent and administrative
        advisor for the Company; and (e) such additional professionals, including
        attorneys, accountants, consultants or brokers, in each case as in such officer’s or
        officers’ judgment may be necessary or desirable in connection with the
        Company’s Chapter 11 Case and other related matters, on such terms as such
        officer or officers shall approve; and it be further

                RESOLVED, that the Company shall be, and hereby is, authorized to: (a)
        borrow funds from, provide guaranties to and undertake related financing
        transactions (the “Financing Transactions”) with such lenders and other parties

                                                  2
RLF1 18952438v.6
               Case 18-10601-MFW         Doc 1       Filed 03/19/18   Page 10 of 31



        and on such terms as may be approved by one or more of the Authorized Persons,
        as reasonably necessary for the continuing conduct of the business and affairs of
        the Company and (b) pay related fees and grant security interests in and liens
        upon, some, all or substantially all of the Company’s assets, as may be deemed
        necessary by any one or more of the Authorized Persons in connection with such
        Financing Transactions; and it be further

               RESOLVED, that the Board hereby approves the form, terms and
        provisions of the Asset Purchase Agreement (the “Stalking Horse Agreement”),
        between the Company, its debtor affiliates and Buyer (as defined in the Stalking
        Horse Agreement), in substantially the form submitted to the Board, with such
        modifications thereto as the Authorized Persons and the Company’s management
        may deem necessary or advisable; and it be further

                RESOLVED, that the Company shall be, and hereby is, and the
        Authorized Persons shall be, and each of them, acting alone, hereby is, in the
        name of and on behalf of the Company, authorized, directed and empowered to
        execute and deliver the Stalking Horse Agreement and any documents
        contemplated by or related to the Stalking Horse Agreement, each in the form or
        substantially in the form submitted to the Board, with such modifications thereto
        as the Authorized Persons and the Company’s management may deem necessary
        or advisable; and it be further

                RESOLVED, that the Company shall be, and hereby is, and the
        Authorized Persons shall be, and each of them, acting alone, hereby is, in the
        name and on behalf of the Company, authorized, directed and empowered to file a
        motion with the Bankruptcy Court (i) seeking approval of bidding procedures to
        be used to facilitate a potential sale of all or substantially all of the Company’s
        assets pursuant to section 363 of the Bankruptcy Code (the “Potential Sale
        Transaction”), (ii) seeking approval of Buyer as a stalking horse purchaser (the
        “Stalking Horse Bidder”) for the Potential Sale Transaction pursuant to the
        Stalking Horse Agreement and (iii) seeking approval of the payment of certain
        fees (including expense reimbursement and breakup fees) to the Stalking Horse
        Bidder, all substantially in accordance with the summary presented to the Board,
        subject to such modifications thereto as the Authorized Persons and the
        Company’s management may deem necessary or advisable (the approval of which
        to be conclusively established by the execution thereof by an Authorized Person);
        and it be further

                RESOLVED, that the Authorized Persons shall be, and each of them
        alone, hereby is, authorized, directed and empowered, in the name of and on
        behalf of the Company, to conduct a further marketing process to identify
        Potential Sale Transactions under the supervision of the Bankruptcy Court; and it
        be further



                                                 3
RLF1 18952438v.6
               Case 18-10601-MFW         Doc 1       Filed 03/19/18   Page 11 of 31



                RESOLVED, that the Authorized Persons shall be, and each of them
        alone, hereby is, authorized, directed and empowered, in the name of and on
        behalf of the Company, to (a) take actions and negotiate, or cause to be prepared
        and negotiated, and, subject to Bankruptcy Court approval as required, to execute,
        deliver, perform and cause the performance of any other agreements (including
        asset purchase agreements), certificates, instruments, receipts, petitions, motions
        or other papers or documents in furtherance of, and necessary to effectuate, any
        Potential Sale Transactions to which the Company is or will be a party and (b)
        request the Bankruptcy Court to approve any Potential Sale Transaction
        (including the Potential Sale Transaction contemplated by the Stalking Horse
        Agreement) and for any related relief; and it be further

                 RESOLVED, that in addition to the specific authorizations heretofore
        conferred upon the Authorized Persons of the Company, each of the Authorized
        Persons of the Company or their designees shall be, and each of them, acting
        alone, hereby is, authorized, directed and empowered, in the name of and on
        behalf of the Company and/or the subsidiaries, as applicable, to take or cause to
        be taken any and all such further actions, to execute and deliver any and all such
        agreements, certificates, instruments and other documents, including, without
        limitation, (a) limited liability company agreements of certain subsidiaries or
        amendments and/or restatements thereof, in the Company’s capacity as sole
        member of such subsidiaries, and (b) further resolutions authorizing or otherwise
        facilitating the matters described in these resolutions for any subsidiaries, in the
        Company’s capacity as sole member of such subsidiaries, and to pay all expenses,
        including filing fees, in each case as in such Authorized Person’s or Authorized
        Persons’ judgment shall be necessary or desirable in order to fully carry out the
        intent and accomplish the purposes of the resolutions adopted herein; and it be
        further

                RESOLVED, that any and all acts taken and any and all certificates,
        instruments, agreements or other documents executed for or on behalf of the
        Company and any subsidiaries by any Authorized Person prior to the adoption of
        the foregoing resolutions with regard to any of the transactions, actions,
        certificates, instruments, agreements or other documents authorized or approved
        by the foregoing resolutions be, and they hereby are, ratified, confirmed, adopted
        and approved.

               This Unanimous Written Consent may be executed in one or more
        counterparts.



                                     [Signature page follows]




                                                 4
RLF1 18952438v.6
Case 18-10601-MFW   Doc 1   Filed 03/19/18   Page 12 of 31
Case 18-10601-MFW   Doc 1   Filed 03/19/18   Page 13 of 31
Case 18-10601-MFW   Doc 1   Filed 03/19/18   Page 14 of 31
Case 18-10601-MFW   Doc 1   Filed 03/19/18   Page 15 of 31
               Case 18-10601-MFW   Doc 1   Filed 03/19/18   Page 16 of 31



                                     Schedule A

Avenging Eagle SPV, LLC
Branded Partners LLC
Check Hook LLC
CTHD 2 LLC
Cues TWC (ASCAP), LLC
Current War SPV, LLC
DRT Films, LLC
DRT Rights Management LLC
FFPAD, LLC
HRK Films, LLC
InDirections LLC
InteliPartners LLC
ISED, LLC
MarcoTwo, LLC
One Chance LLC
PA Entity 2017, LLC
Paddington 2, LLC
PS Post LLC
Scream 2 TC Borrower, LLC
Small Screen Productions LLC
Small Screen Trades LLC
Spy Kids TV Borrower, LLC
Team Players LLC
The Actors Group LLC
The Giver SPV, LLC
The Weinstein Company LLC
Tulip Fever LLC
TWC Borrower 2016, LLC
TWC Domestic LLC
TWC Fearless Borrower, LLC
TWC Library Songs (BMI), LLC
TWC Loop LLC
TWC Mist, LLC
TWC Polaroid SPV, LLC
TWC Production-Acquisition Borrower 2016, LLC
TWC Production, LLC
TWC Replenish Borrower, LLC
TWC Short Films, LLC
TWC Untouchable SPV, LLC
TWC Waco SPV, LLC
Twenty O Five Holdings, LLC
W Acquisition Company LLC
WC Film Completions, LLC
Weinstein Books, LLC



RLF1 18952438v.6
               Case 18-10601-MFW   Doc 1   Filed 03/19/18   Page 17 of 31



Weinstein Development LLC
Weinstein Global Funding Corp.
Weinstein Global Film Corp.
Weinstein Productions LLC
Weinstein Television LLC
WTV Guantanamo SPV, LLC
WTV JCP Borrower 2017, LLC
WTV Kalief Browder Borrower, LLC
WTV Scream 3 SPV, LLC
WTV Yellowstone SPV, LLC




RLF1 18952438v.6
               Case 18-10601-MFW            Doc 1     Filed 03/19/18      Page 18 of 31



                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
The Weinstein Company Holdings LLC,                            : Case No. 18-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

            CONSOLIDATED LIST OF CREDITORS WHO HAVE THE
       THIRTY (30) LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

        The above-captioned debtor and its debtor affiliates (collectively, the “Debtors”) hereby
certify that the Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders submitted herewith contains the names and addresses of the Debtors’
consolidated top thirty (30) unsecured creditors (the “Top Thirty List”). The list has been
prepared from the Debtors’ unaudited books and records as of the Petition Date. The Top Thirty
List was prepared in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy
Procedure for filing in the Debtors’ chapter 11 cases. The Top Thirty List does not include: (1)
persons who come within the definition of an “insider” set forth in 11 U.S.C. § 101(31) or (2)
secured creditors, unless the value of the collateral is such that the unsecured deficiency places
the creditor among the holders of the thirty (largest unsecured claims. The information
presented in the Top Thirty List shall not constitute an admission by, nor is it binding on, the
Debtors. Moreover, nothing herein shall affect the Debtors’ right to challenge the amount or
characterization of any claim at a later date. The failure of the Debtors to list a claim as
contingent, unliquidated or disputed does not constitute a waiver of the Debtors’ right to contest
the validity, priority, and/or amount of any such claim.




RLF1 18952438v.6
                             Case 18-10601-MFW                   Doc 1      Filed 03/19/18         Page 19 of 31




  Debtor Name The Weinstein Company Holdings LLC

  United States Bankruptcy Court for the: District of Delaware
                                                    (State)
                                                                                                                                  Check if this is an
 Case number (If known):
                                                                                                                                  amended filing




Official Form 204

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                 12/15
A list of creditors holding the thirty (30) largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the thirty (30) largest unsecured claims.


                                                                             Nature of                            Amount of unsecured claim
                                                                             the claim     Indicate if        If the claim is fully unsecured, fill in
                                                      Name, telephone                                       only unsecured claim amount. If claim
                                                                                 (for       claim is
        Name of creditor and complete mailing        number, and email                                       is partially secured, fill in total claim
                                                                               example,   contingent,
            address, including zip code              address of creditor                                      amount and deduction for value of
                                                          contact            trade debts, unliquidated
                                                                                                                  collateral or setoff to calculate
                                                                             bank loans, or disputed
                                                                                                                         unsecured claim.
                                                                             professional
                                                                              services,                  Total claim, if Deduction       Unsecured
                                                                                 and                       partially     for value of      claim
                                                                             government                    secured       collateral or
                                                                              contracts)                                    setoff

    1    SARTRACO, INC.                         Justin Leto, Larry Bassuk    Judgement                   $17,367,331.00                  $17,367,331.00
         C/O LETO BASSUK                        305-577-8448                 Creditor
                                                                                              D
         777 Brickwell Ave., Ste 600            JLeto@letobassuk.com;
         Miami, FL 33131                        lbassuk@letobassuk.com


    2    WANDA PICTURES                         Tian Di                      Film                        $14,407,220.54                  $14,407,220.54
         F18, BlockC, Century Square            1-880-942-1670               Participant
         No. 352, Qingyang Rd.                  Rhcncpa.com                  Vendor
         Lanzhou 730030 China


    3    PALISADES MEDIA GROUP INC              CONTACT: Russell Dean        Trade                       $13,731,757.06                  $13,731,757.06
         1620 26th St. Suite 200S               PHONE: 310-564-5465          Vendor
         Santa Monica, CA 90404                 FAX: 310-828-7852



    4     BOIES, SCHILLER &                                                  Film                        $5,697,646.05                   $5,697,646.05
                                                Sherri Venticinque-Presti
          FLEXNER (1999)                        561-886-6000                 Participant
          LLC                                   FAX: 561-886-6006            Vendor
          2200 Corporate Blvd. N.W.
          Boca Raton, FL 33431


    5    VIACOM INTERNATIONAL                   W. Keyes Hill-Edgar          Trade                       $5,613,918.95                   $5,613,918.95
         1515 Broadway                          212-846-6491                 Vendor
         New York, NY 10036                     FAX: 201-422-6628



    6    CROSS CITY FILMS LTD                   Layla Zhang                  Trade                       $5,610,000.00                   $5,610,000.00
         74 Rivington Street                    61 2 9357 0700               Vendor
         London EC2A 3AY United Kingdom         lz@see-saw-films.com


                                                                                                                                                          page 1



RLF1 18952438v.6
                            Case 18-10601-MFW                    Doc 1        Filed 03/19/18         Page 20 of 31

                                                                                Nature of                           Amount of unsecured claim
                                                                                the claim    Indicate if        If the claim is fully unsecured, fill in
                                                      Name, telephone                                         only unsecured claim amount. If claim
                                                                                   (for       claim is
        Name of creditor and complete mailing        number, and email                                         is partially secured, fill in total claim
                                                                                 example,   contingent,
            address, including zip code              address of creditor                                        amount and deduction for value of
                                                          contact              trade debts, unliquidated
                                                                                                                    collateral or setoff to calculate
                                                                               bank loans, or disputed
                                                                                                                           unsecured claim.
                                                                               professional
                                                                                services,                  Total claim, if Deduction       Unsecured
                                                                                   and                       partially     for value of      claim
                                                                               government                    secured       collateral or
                                                                                contracts)                                    setoff

    7     BOIES, SCHILLER & FLEXNER LLP                                        Professional                $4,499,926.32                   $4,499,926.32
                                                Sherri Venticinque-Presti
          2200 Corporate Blvd. N.W.                                            Services
                                                561-886-6000
          Boca Raton, FL 33431                  FAX: 561-886-6006


        8 SONY PICTURES                         David A. Steinberg             Film                        $3,720,566.00                   $3,720,566.00
          ENTERTAINMENT                         310-244-6070                   Participant
          10202 West Washington Blvd            FAX: 310-244-8103              Vendor
          Culver City, CA 90232

        9 FINTAGE COLLECTION ACCOUNT                                           Trade                       $3,327,588.00                   $3,327,588.00
          MGMT. BV                              Marcel Hoogenberk              Vendor
          Schipholweg 71 2316 ZL                31 71 565 9928
          Leiden The Netherlands                marcel.hoogenberk@fintage
                                                house.com

    10 O'MELVENY & MYERS LLP                    Matthew Erramouspe             Professional                $3,154,077.03                   $3,154,077.03
       1999 Avenue of the Stars 8th Fl          310-553-6700                   Services
       Los Angeles, CA 90067-6035               FAX: 310-246-6779


    11 LIGHT CHASER ANIMATION                   Zhou Yu                       Trade                        $2,250,000.00                   $2,250,000.00
       Art base one                             Gary@lightchaseranimation.    Vendor
       Cuigezhuang Chaoyang District            com
       Beijing 100103 China



    12 LAVELY AND SINGER'S CLIENT               Martin S Singer                Trade                       $2,000,000.00                   $2,000,000.00
       TRUST                                    310-556-3501                   Vendor
       2049 Century Park east, Suite 2400       FAX: 310-556-3615
       Los Angeles, CA 90067


    13 KASIMA, LLC                              Mark Kurtz                     Trade                       $1,936,625.00                   $1,936,625.00
       100 Enterprise Drive, Suite 505          201-252-4141                   Vendor
       Rockaway, NJ 07866                       FAX: 201-512-4215



    14 ALLIED INTEGRATED MARKETING                                             Trade                       $1,931,607.82                   $1,931,607.82
                                                Adam Cinque
       233 Broadway, 13th fl                    212-819-8144                   Vendor
       New York, NY 10279                       ACinque@alliedim.com


    15 GREENBERG GLUSKER FIELDS                 Bert Fields                    Professional                $1,820,078.15                   $1,820,078.15
       1900 Avenue of the Stars, Suite 2100     310-785-6842                   Services
       Los Angeles, CA 90067-4590               bfields@greenbergglusker.co


   16 BRB INTERNATIONAL, S.A.                   Carlos Biern                   Trade                       $1,750,000.00                   $1,750,000.00
      Autovia Fuencarral-Alcobendas,            31 475 560 300                 Vendor
      KM12220                                   FAX: 31 475 560 144
      Madrid 28049 Spain                        info@brbbv.com


   17 CREATIVE ARTIST AGENCY                    Marissa Hughes                 Trade                       $1,494,537.25                   $1,494,537.25
      2000 Ave of the Stars,                    424-288-2000                   Vendor
      Los Angeles, CA 90067                     Trustfollowuplz@caa.com




                                                                                                                                                           page 2



RLF1 18952438v.6
                          Case 18-10601-MFW                  Doc 1         Filed 03/19/18         Page 21 of 31

                                                                             Nature of                           Amount of unsecured claim
                                                                             the claim    Indicate if        If the claim is fully unsecured, fill in
                                                   Name, telephone                                         only unsecured claim amount. If claim
                                                                                (for       claim is
     Name of creditor and complete mailing        number, and email                                         is partially secured, fill in total claim
                                                                              example,   contingent,
         address, including zip code              address of creditor                                        amount and deduction for value of
                                                       contact              trade debts, unliquidated
                                                                                                                 collateral or setoff to calculate
                                                                            bank loans, or disputed
                                                                                                                        unsecured claim.
                                                                            professional
                                                                             services,                  Total claim, if Deduction        Unsecured
                                                                                and                       partially     for value of       claim
                                                                            government                    secured       collateral or
                                                                             contracts)                                    setoff

   18 DEBEVOISE & PLIMPTON LLP               Helen V. Cantwell              Professional                $1,438,254.89                   $1,438,254.89
      919 Third Avenue,                      212-909-6000                   Services
      New York, NY 10022                     hcantwell@debevoise.com



   19 Y THEATRICAL LLC                       David Barnes                   Film                        $1,385,146.00                   $1,385,146.00
      9130 West Sunset Blvd.                 310-789-7200                   Participant
      Los Angeles, CA 90069                  david.barnes@yucaipaco.com     Vendor


   20 TECHNICOLOR                            Hunter Simon                   Trade                       $1,364,802.87                   $1,364,802.87
      Dept. no 7658                          805-445-1122                   Vendor
      Los Angeles, CA 90088-7658             Hunter.Simon@technicolor.co
                                             m


   21 ACACIA FILMED ENTERTAINMENT            Matthew George                 Trade                       $1,310,832.65                   $1,310,832.65
      150 Melacon Road,                      609 330 3930                   Vendor
      Marksvulle, LA 71351                   Matt@acaciafilmedentertain
                                             ment.com

                                             Glen Basner
   22 SPEEDEE DISTRIBUTION, LLC 150 W        917-484-8918                   Trade                       $1,250,000.00                   $$1,250,000.00
      22nd St. FL 9,                         FAX: 917-484-8901              Vendor
      New York, NY 10011-6556                gbasner@filmnation.com


   23 AMERICAN EXPRESS CARD MEMBER           Christina Nunez-Gonzalez       Trade                       $1,243,350.14                   $1,243,350.14
      WIRE DEPOSITORY                        602-537-6385                   Vendor
      1 Chase Plaza,                         Christina.E.Nunez-
      New York, NY 10081                     Gonzalez@aexp.com

   24 WALT DISNEY PICTURES AND               Chris Arroyo                   Film                        $1,137,734.00                   $1,137,734.00
      TELEVISION                             818-560-1000                   Participant
      500 S Buena Vista St.                  Chris.Arroyo@disney.com        Vendor
      Burbank, CA 91521

   25 SEYFARTH SHAW LLP                      Gerald L. Maatman, Jr.         Professional                $1,114,433.27                   $1,114,433.27
      233 South Wacker Drive                 312-460-7965                   Services
      Suite 8000                             gmaatman@seyfarth.com
      Chicago, IL 60606


   26 22ND AND INDIANA INCORPORATED Marissa Hughes                         Film                         $940,706.00                     $940,706.00
      C/O Creative Artists Agency   424-288-2000                           Participant
      2000 Avenue of the Stars      Trustfollowuplz@caa.com                Vendor
      Los Angeles, CA 90067


   27 CANAL PRODUCTIONS                      Marissa Hughes                 Film                        $940,706.00                     $940,706.00
      C/O Creative Artists Agency            424-288-2000                   Participant
      2000 Avenue of the Stars               Trustfollowuplz@caa.com        Vendor
      Los Angeles, CA 90067

   28 KANZEON CORP                           David O. Russell               Film                        $940,706.00                     $940,706.00
      4020 Mandeville Canyon Rd              424-288-2000                   Participant
      Los Angeles, CA 90049                  Trustfollowuplz@caa.com        Vendor




                                                                                                                                                         page 3



RLF1 18952438v.6
                          Case 18-10601-MFW                 Doc 1       Filed 03/19/18         Page 22 of 31

                                                                          Nature of                           Amount of unsecured claim
                                                                          the claim    Indicate if        If the claim is fully unsecured, fill in
                                                  Name, telephone                                       only unsecured claim amount. If claim
                                                                             (for       claim is
     Name of creditor and complete mailing       number, and email                                       is partially secured, fill in total claim
                                                                           example,   contingent,
         address, including zip code             address of creditor                                      amount and deduction for value of
                                                      contact            trade debts, unliquidated
                                                                                                              collateral or setoff to calculate
                                                                         bank loans, or disputed
                                                                                                                     unsecured claim.
                                                                         professional
                                                                          services,                  Total claim, if Deduction       Unsecured
                                                                             and                       partially     for value of      claim
                                                                         government                    secured       collateral or
                                                                          contracts)                                    setoff

   29 PHASE 2 DIGITAL CINEMA CORP.           Frank Lupo                  Trade                       $902,806.50                     $902,806.50
      902 Broadway 9th Fl                    212-206-8600                Vendor
      New York, NY 10010                     flupo@cinedigm.com




   30 BARNES & THORNBURG                     Leasa Anderson              Professional                $858,994.84                     $858,994.84
      2029 Century Park East, Suite 300      310-284-3880                Services
      Los Angeles, CA 90067-2904             Leasa.Anderson@btlaw.com




                                                                                                                                                     page 4



RLF1 18952438v.6
                    Case 18-10601-MFW                        Doc 1           Filed 03/19/18           Page 23 of 31

Fill in this information to identify the case and this filing:


Debtor Name The Weinstein Company Holdings LLC

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                            Declaration and signature

                       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                       partnership; or another individual serving as a representative of the debtor in this case.

                       I have examined the information in the documents checked below and I have a reasonable belief that the information
                       is true and correct:

                       ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                       ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                       ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                       ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                       ☐           Schedule H: Codebtors (Official Form 206H)


                       ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                       ☐           Amended Schedule


                       ☐           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
                                   Insiders (Official Form 204)


                       ☒           Other document that requires a declaration       Consolidated List of Creditors Who Have the 30 Largest
                                   Unsecured Claims and are Not Insiders


I declare under penalty of perjury that the foregoing is true and correct.

Executed on     03/19/2018
                 MM / DD / YYYY                                        /s/ Robert Del Genio
                                                                       Signature of individual signing on behalf of debtor

                                                                       Robert Del Genio
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




RLF1 18952438v.6
               Case 18-10601-MFW            Doc 1     Filed 03/19/18      Page 24 of 31



                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
The Weinstein Company Holdings LLC,                            : Case No. 18-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                        STATEMENT OF CORPORATE OWNERSHIP

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the undersigned authorized officer of the above-captioned debtor (the “Debtor”) certifies that the

following corporate entities directly or indirectly own 10% or more of the Debtor.

                                   Woodland Asset Holdings LLC




RLF1 18952438v.6
                           Case 18-10601-MFW                              Doc 1         Filed 03/19/18                 Page 25 of 31


Fill in this information to identify the case and this filing:



Debtor Name The Weinstein Company Holdings LLC

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):



Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ☒              Other document that requires a declaration Statement            of Corporate Ownership
I declare under penalty of perjury that the foregoing is true and correct.


Executed on           03/19/2018
                       MM / DD / YYYY                            /s/ Robert Del Genio
                                                                 Signature of individual signing on behalf of debtor

                                                                 Robert Del Genio
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




RLF1 18952438v.6
                Case 18-10601-MFW            Doc 1      Filed 03/19/18       Page 26 of 31



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
The Weinstein Company Holdings LLC,                            : Case No. 18-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                            LIST OF EQUITY SECURITY HOLDERS

          Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the above-captioned

debtor hereby provides the following name and address of the holders of its limited liability

company interests:1



                         Class A-1                                Ownership %                  Shares
    2929 Media LP
    3030 McKinney
    Suite 2301
    Dallas, TX 75204                                                        0.910%                      10,000
    A-1 Internation Investments BV
    (Quinta Communications SA)
    Hertog Hendriksingel 28
    UNIT B
    5216 BB’s-Hertogenbosch
    the Netherlands                                                         3.032%                      33,333
    Ambac Private Holdings, LLC
    One State Street Plaza
    New York, NY 10004                                                      0.910%                      10,000
    Direct Solutions, Inc. (Technicolor)
    2255 N. Ontario Street, Suite 100
    Burbank, CA 91504                                                       1.092%                      12,000
    Direct Solutions, Inc. (Technicolor)
    2255 N. Ontario Street, Suite 100
    Burbank, CA 91504                                                       5.000%                      54,962


1
  The Company, through its counsel, has been contacted by various lawyers for Georgina Chapman claiming that at
least some of Harvey Weinstein’s shares have been transferred pursuant to the terms of the divorce agreement
between Ms. Chapman and Mr. Weinstein. Such transfers are not reflected in the Company’s records.



RLF1 18952438v.6
               Case 18-10601-MFW   Doc 1       Filed 03/19/18   Page 27 of 31



 TWCH Investors, Inc.
 C/O William A. Newman, Esq.
 420 Lexington Ave., 18th Floor
 New York, NY 10170                                             5.094%          56,000
 BP-PE2 Inc.
 C/O The Baupost Group, LLC
 10 St. James Avenue, Suite 1700
 Boston, MA 02116                                               1.365%          15,000
 Eton Park TWC Holding Corp.
 (Eton Park Capital Mgmt.)
 825 3rd Ave., 8th Floor
 New York, NY 10022                                             4.094%          45,000
 Group M Movie Entertainment Inc. (WPP)
 Worldwide Plaza
 825 8th Avenue
 New York, NY 10019                                             2.274%          25,000
 HWCH Corp (Highbridge Capital Management)
 Highbridge Capital Management, LLC
 9 West 57th St., 27th Floor
 New York, NY 10019                                             0.910%          10,000
 Launchdock & Co.
 Hartford Series Fund, Inc: Hartford Capital
 Appreciation HLS Fund
 Wellington Management Company, LLP
 75 State Street
 Boston, MA 02109                                               2.711%          29,800
 Luxurylines & Co.
 Hartford Series Fund, Inc: Hartford Capital
 Appreciation HLS Fund
 Wellington Management Company, LLP
 75 State Street
 Boston, MA 02109                                               2.292%          25,200
 MATWIN LLC (Marathon Asset Management)
 461 5th Avenue, 11th Floor
 New York, NY 10017                                             0.455%           5,000
 Maverick Holdings Ltd.
 C/O Maverick Capital, Ltd.
 300 Crescent Court, 18th Floor
 Dallas, TX 75201                                               0.188%           2,062
 Maverick II Holdings, Ltd.
 C/O Maverick Capital, Ltd.
 300 Crescent Court, 18th Floor
 Dallas, TX 75201                                               0.171%           1,877
 Maverick USA II
 C/O Maverick Capital, Ltd.                                     0.097%           1,061


RLF1 18952438v.6
               Case 18-10601-MFW      Doc 1   Filed 03/19/18   Page 28 of 31



 300 Crescent Court, 18th Floor
 Dallas, TX 75201
 NAOF Inc. (GLG Partners)
 C/O GLG Partners Services Ltd
 The Waterfront Centre, North Church Street, PO
 Box 2427
 George Town, Grand Cayman, Cayman Islands                     0.910%          10,000
 Nevo, Aviv
 12250 Castlegate Drive
 Los Angeles, CA 90049                                         0.101%           1,111
 Radical Investments LP
 5424 Deloache Ave.
 Dallas, TX 75220                                              0.910%          10,000
 RS Movie Holdings LLC
 Two Manhattanville Road
 Second Floor
 Purchase, NY 10577                                            0.091%           1,000
 Salomon, David
 345 North Maple Drive
 Suite 205
 Beverly Hills, CA 90210                                       0.091%           1,000
 Saul, Julian
 P.O. Box 2128
 Dalton, GA 30722                                              1.365%          15,000
 SB America 2 Inc.
 Softbank Corp.
 1-9-1, Higashi-shimbashi
 Minato-ku, 105-7303
 Tokyo, Japan                                                  0.910%          10,000
 Sofidiv, Inc. (LVMH)
 1-9-1, Higashi-shimbashi
 Minato-ku, 105-7303
 Tokyo, Japan                                                  0.910%          10,000
 Viola Brothers Productions LLC
 19 East 57th St.
 New York, NY 10022                                            0.364%           4,000
 WCH Holdco 2, Inc. (Fidelity)
 C/O Fidelity Investments
 E31C
 82 Devonshire Street
 Boston, MA 02109-3614                                         1.046%          11,499
 WCH Holdco 3, Inc. (Fidelity)
 C/O Fidelity Investments
 E31C
 82 Devonshire Street
 Boston, MA 02109-3614                                         0.206%           2,267



RLF1 18952438v.6
               Case 18-10601-MFW    Doc 1   Filed 03/19/18    Page 29 of 31



 WCH Holdco, Inc. (Fidelity)
 C/O Fidelity Investments
 E31C
 82 Devonshire Street
 Boston, MA 02109-3614                                       3.751%                    41,234
 The Weinstein Company Holdings LLC
 99 Hudson Street, 4th Floor
 New York, NY 10013                                          1.819%                    20,000
 Weinstein, Harvey
 C/O Citrin Cooperman
 529 5th Avenue
 New York, NY 10017                                          1.365%                    15,000
 Weinstein, Robert
 C/O Spielman, Koenigsberg & Parker, LLP
 1745 Broadway, Floor 18
 New York, NY 10019                                          1.365%                    15,000
 Woodland Asset Holdings LLC
 350 Park Avenue, 11th Floor
 New York, NY 10022                                          10.000%               109,924



                     Class A-2                     Ownership %                Shares
 Goldman Sachs
 One New York Plaza
 New York, NY 10004                                           4.55%              50,000.00



                      Class B                      Ownership %                Shares
 Harvey Weinstein
 C/O Citrin Cooperman
 529 5th Avenue
 New York, NY 10017                                          17.32%             190,369.62
 Harvey Weinstein 2005 GRAT
 C/O Citrin Cooperman
 529 5th Avenue
 New York, NY 10017                                           2.28%              25,077.08
 Robert Weinstein
 C/O Spielman, Koenigsberg & Parker, LLP
 1745 Broadway, Floor 18
 New York, NY 10019                                          17.32%             190,369.62
 Robert Weinstein 2005 GRAT
 C/O Spielman, Koenigsberg & Parker, LLP
 1745 Broadway, Floor 18
 New York, NY 10019                                           2.28%              25,077.08



RLF1 18952438v.6
               Case 18-10601-MFW    Doc 1   Filed 03/19/18   Page 30 of 31




                    Class W                        Ownership %               Shares
 Harvey Weinstein
 C/O Citrin Cooperman
 529 5th Avenue
 New York, NY 10017                                          0.23%               2,507.78
 Robert Weinstein
 C/O Spielman, Koenigsberg & Parker, LLP
 1745 Broadway, Floor 18
 New York, NY 10019                                          0.23%               2,507.78




RLF1 18952438v.6
                           Case 18-10601-MFW                              Doc 1         Filed 03/19/18                 Page 31 of 31



Fill in this information to identify the case and this filing:



Debtor Name The Weinstein Company Holdings LLC

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ☒              Other document that requires a declaration List         of Equity Security Holders
I declare under penalty of perjury that the foregoing is true and correct.

Executed on          03/19/2018                                  /s/ Robert Del Genio
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 Robert Del Genio
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




RLF1 18952438v.6
